
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                ____________________
          No. 96-1462
                                   UNITED STATES,
                                      Appellee,
                                         v.
                               MARIA MULINELLI-NAVAS,
                               Defendant - Appellant.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
                   [Hon. Jose Antonio Fuste, U.S. District Judge]
                                ____________________
                                       Before
                               Torruella, Chief Judge,
                     Coffin and Campbell, Senior Circuit Judges.
                                _____________________
               Linda 
                    Backiel, with whom Luis F. Abreu-Elias was on brief for
          appellant.
               Maria A. Dominguez,  Assistant United States Attorney,  with
          whom Guillermo  Gil,  United  States Attorney,  Jose  A.  Quiles-
          Espinosa,  Senior  Litigation  Counsel,  and  Nelson  Perez-Sosa,
          Assistant United States Attorney, were on brief for appellee.
                                ____________________
                                    May 23, 1997
                                ____________________
                                       AMENDED
                                ____________________

                    TORRUELLA, Chief  Judge.    On August  9,  1995,  Maria
          Mulinelli-Navas 
                         ("Mulinel
                                 li") was charged with conspiracy to commit
          bank  fraud,  in violation  of  18  U.S.C. S  371,  making  false
          statements  to a  federally  insured  financial  institution,  in
          violation of 18 U.S.C. S 1014, and bank fraud, in violation of 18
          U.S.C. S 1344.   On December 21, 1995,  a jury returned a  guilty
          verdict on  all counts and she  was subsequently sentenced to  27
          months for each count, to be served concurrently, and three years
          supervised  release.   Mulinelli  appeals only  her  convictions,
          claiming that: (1) the district court's limitation on her  cross-
          examination 
                     of her accomplices deprived her of her Sixth Amendment
          right  to  confrontation;  (2)  the  district  court  abused  its
          discretion  by not  allowing  Mulinelli  to  introduce  extrinsic
          evidence to impeach an accomplice; (3) the district court  abused
          its  discretion  by   admitting  into   evidence  an   improperly
          authenticated summary  chart;  and  (4) the  district  court,  by
          overruling certain  objections, deprived  her of  the ability  to
          present 
                 her 
                     defense 
                            to 
                               the jury.  For the reasons stated herein, we
          vacate Mulinelli's conviction and sentence on Counts V and VI and
          affirm as to all other issues.
                                     BACKGROUND
                    The 
                       jury 
                            could 
                                 have 
                                      found the following facts.  Mulinelli
          was 
             Senior 
                    Vice President of First Federal Savings Bank, in charge
          of 
            car 
                loans.  Between 1985 and 1988, First Federal approved loans
          to two dealers who, in fact, neither bought nor sold the cars for
          which the  loans were made.   Furthermore,  these loans  involved
                                         -2-

          irregular financing, with low monthly payments and large  balloon
          payments at the end of one year.
                    The indictment  charged  Mulinelli with  conspiring  to
          approve 
                 fraudulent loans of $25,000 in 1985 and $273,000 from 1987
          to 1988 to Lopez, and $130,000 in June 1988 to Exposito.
                    At trial, the two  auto dealers testified.  One of  the
          auto 
              dealers, Luis Lopez-Mendoza ("Lopez"), President and owner of
          Cordillera 
                    Auto, 
                         testified that he was approached by Mulinelli with
          a request that he loan her  money.  In response to his  statement
          that he  was not  in  the business  of lending  money,  Mulinelli
          suggested 
                   a 
                     financing scheme by which Lopez would apply for a loan
          on a  non-existent car.    According to  the loan  documents  and
          disbursement  check,  the loan  was  taken  out in  the  name  of
          Mulinelli's daughter  for a Volvo  station wagon  that was  never
          actually purchased.   They carried out the scheme she  described:
          upon receiving the loan check, he deposited the amount, then gave
          Mulinelli a  $25,000 loan  from  cash on  hand at  his  business.
          Mulinelli's daughter testified that she signed for a $25,000 loan
          to 
            purchase 
                     a family car that Mulinelli put in the daughter's name
          because 
                 of 
                    credit problems.  She testified that the handwriting on
          the sales contract "looked like my mother's."
                    In 1985,  Lopez  approached Mulinelli  about  obtaining
          financing of a type not available from First Federal.   Mulinelli
          suggested a  similar scheme,  whereby Lopez  would execute  blank
          contracts, stamped  with the seal  of Cordillera  Auto and  would
          deliver the blank documents to Mulinelli for her approval.  Lopez
                                         -3-

          used these loans to  finance cars he was purchasing for  eventual
          resale.  A similar strategy was used to provide loans to  another
          dealer, 
                 Lazaro Exposito Cordoves ("Exposito"), President of Caguas
          Auto 
              Wholesale. 
                          
                         Both 
                              Lopez and Exposito testified that they signed
          and  sealed blank  forms  for  car sales  contracts,  which  they
          delivered to the bank for completion.
                    During his testimony, Lopez recanted statements made in
          an earlier  affidavit,  in which  he  denied that  Mulinelli  had
          knowledge of the  fraud.  He testified  that he lied because  the
          attorney to whom he made the affidavit told him, before  starting
          the tape recorder,  that the attorney's purpose was to  "protect"
          Mulinelli.  The defense sought to introduce the testimony of  the
          attorney regarding whether he actually stated that the purpose of
          his 
             meeting 
                     with 
                         Lopez 
                               was to protect Mulinelli.  After hearing the
          attorney's 
                    proposed testimony out of the presence of the jury, the
          trial court upheld the prosecution's objection that his testimony
          was  extrinsic evidence  on a  "collateral matter"  and thus  was
          inadmissible.
                    Exposito 
                            testified 
                                     about 
                                           two loans made in 1988 to Caguas
          Auto Wholesale,  purportedly to  finance purchases  for a  rental
          business  ("Zoom") that  Exposito  never established.    Exposito
          approached Mulinelli and informed her that he needed money.   She
          told 
              him 
                  to 
                     bring her contracts and bills of sale for cars that he
          would 
               sell 
                    from his dealership to this sham car rental business so
          that she could approve loans  for their purchase.  For the  first
          loan, 
               Mulinelli requested that Exposito provide her with a bill of
                                         -4-

          sale and a loan application  reflecting the sale of cars that  he
          never purchased.  Two  hours after he delivered the documents  to
          Mulinelli, the loan was approved  and he received a check in  the
          amount 
                of 
                   $60,000.  Exposito used the funds to buy other cars that
          were not pledged as collateral for the loan.  He also signed  and
          sealed blank  sales  contracts  and delivered  them  directly  to
          Mulinelli.   Exposito  testified  that Mulinelli  knew  the  cars
          referred 
                  to 
                     in 
                       the 
                           two 
                               loan applications were not in Puerto Rico at
          the time the  loans were  made and that  he had  no intention  of
          selling the cars to Zoom but  rather that he intended to use  the
          money 
               to 
                  buy 
                      other cars.  Moreover, Mulinelli determined the terms
          of 
            these 
                  loans, 
                        which 
                              included large balloon payments at the end of
          the year.  In return for her assistance with the loans, he made a
          personal 
                  loan to Mulinelli for $5,000 and did some personal favors
          for her and her family.
                                     DISCUSSION
          I.        The district court's  limitation of Mulinelli's  cross-
                    examination of Lopez and Exposito
                    At  trial,  Mulinelli's  counsel  cross-examined  Lopez
          regarding the  benefits  and conditions  of his  plea  agreement.
          Mulinelli 
                   entered into evidence the information by which Lopez was
          charged and  the plea  agreement under  which he  pled guilty  to
          conspiracy 
                    to 
                      commit 
                             bank fraud.  Mulinelli elicited testimony from
          Lopez 
               that 
                    he was not and would not be charged with bank fraud, in
          addition to his conspiracy charge, as Mulinelli had been charged.
          Lopez also testified that, as part of his plea bargain agreement,
          the  United States  Attorney would  make a  recommendation for  a
                                         -5-

          reduction in his sentence.  The district court, however, cut  off
          Mulinelli's counsel when on several occasions he tried to  elicit
          testimony 
                   from 
                       Lopez 
                             regarding the possible sentence he faced.  The
          district court noted that matters of sentencing were in the sound
          discretion of  the  district court  judge  who was  scheduled  to
          sentence Lopez.
                    Mulinelli  elicited  similar  testimony  from  Exposito
          regarding the substance of the plea agreement -- that he expected
          the United  States  Attorney to  make  a recommendation  for  the
          district court's consideration in his sentencing, that he was not
          charged with  bank fraud, but only  with conspiracy and making  a
          false statement to a financial institution, and that he would not
          be 
            charged 
                    with 
                        any 
                            other crimes.  Again, the district court barred
          Mulinelli from  eliciting testimony regarding  the nature of  the
          sentence Exposito expected to receive.
                    Mulinelli argues on  appeal that  the district  court's
          limitation  on  her  cross-examination  regarding  the  potential
          sentence 
                  that 
                      both 
                           accomplices faced before and after entering into
          the plea agreements so interfered with her ability to effectively
          cross-examine the witnesses that it violated her Sixth  Amendment
          right to confrontation.
                    The Sixth Amendment guarantees that "[i]n all  criminal
          prosecutions,  the accused  shall enjoy  the right  . .  . to  be
          confronted 
                    with 
                        the 
                            witnesses against him."  U.S. Const. amend. VI.
          "[T]he right of a defendant  in a criminal case to establish  the
          bias of  witnesses against  him through  cross-examination is  an
                                         -6-

          important 
                   component 
                            of 
                               the Sixth Amendment right to confrontation."
          United 
                States 
                      v. 
                         Jarabek
                                ,
                                  726 F.2d 889, 902 (1st Cir. 1984) (citing
          Davis
               
               v. 
                  Alaska
                       , 
                         415 
                             U.S. 308, 315-16 (1974)).  A defendant has the
          right to cross-examine an accomplice regarding the nature of  and
          benefits, including unprosecuted crimes, afforded under the  plea
          agreement.  United States v. Barrett, 766 F.2d 609, 614 (1st Cir.
          1985).  Although this right  is extensive, it is not absolute  or
          unlimited. 
                     
                     Once 
                         the 
                             defendant has been afforded the constitutional
          minimum of an  opportunity for  effective cross-examination,  the
          trial 
               court 
                    "retain[s] 
                               wide latitude to impose reasonable limits on
          such 
              cross-examination 
                               based on concerns about, among other things,
          harassment,  prejudice, confusion  of the  issues, the  witness's
          safety, or  interrogation that is  repetitive or only  marginally
          relevant." 
                     
                     Delaware
                             
                             v. 
                                V
                                 an Arsdall, 475 U.S. 673, 679 (1986).  "An
          abuse of discretion has occurred only if the jury is left without
          'sufficient  information concerning  formative events  to make  a
          "discriminating  appraisal" of  a witness's  motives and  bias.'"
          United States  v. Twomey,  806 F.2d  1136, 1140  (1st Cir.  1986)
          (quoting United  States v. Campbell, 426  F.2d 547, 550 (2d  Cir.
          1970)).
                    We find no such  abuse here.  During direct and  cross-
          examination 
                     of both Lopez and Exposito, the jury was apprised that
          they 
              were 
                   not 
                      charged 
                              with bank fraud, one of the charges Mulinelli
          faced.    On cross-examination,  Mulinelli  was  able  to  elicit
          information regarding their  plea agreements, including that  the
          accomplices  expected  the   government  to  make  a   beneficial
                                         -7-

          recommendatio
                      n to the sentencing judge based on their cooperation,
          and 
             that 
                  they were granted immunity from prosecution for any other
          crimes related to their testimony.  The jury could infer from the
          circumstances that the accomplices had avoided being charged with
          offenses  carrying  greater   sentences  by  testifying  in   the
          government's  case.   Mulinelli  was  able,  through  her  cross-
          examination,  to  expose  the  biases  and  motivations  of   the
          accomplices to favor the government and, once this threshold  was
          met, 
              the 
                  district court's limitation was not improper.  As we find
          that 
              the 
                  jury 
                      had 
                          before 
                                 it sufficient information on which to make
          a 
           discriminating appraisal of the accomplices' motives and biases,
          we find no abuse of discretion.
                    Additionally,  Mulinelli's  counsel  sought  to  elicit
          sentencing 
                    information regarding the charges the accomplices faced
          and  avoided by  pleading guilty  to conspiracy.   Had  Mulinelli
          successfully elicited this information, the potential  punishment
          she 
             faced, 
                    should the jury find her guilty, would have been before
          the 
             jury. 
                    
                    The actions taken by the district court to prevent this
          information, 
                      which could confuse the issues presented to the jury,
          from  reaching the jury  were thus entirely  proper.  See  United
          States v. Alvarez, 987 F.2d  77, 82 (1st Cir. 1993) (finding  the
          district  court did  not abuse  its discretion  when it  excluded
          evidence of the  penalty to be imposed  on an accomplice as  such
          information 
                     might 
                          mislead or confuse the jury, "particularly where,
          as 
            here, 
                  the 
                      witness sought to testify to the same penalties faced
          by the defendants").
                                         -8-

          II.       District court's decision not to allow Jerome Murray to
                    testify
                    During his  cross-examination,  Lopez  referred  to  an
          interview he had  prior to the prosecution  of this case with  an
          attorney named Jerome Murray ("Murray").  Lopez' trial  testimony
          regarding  his interactions  with  Mulinelli  differed  from  the
          responses he had given  during his interview with Murray, and  he
          stated that he lied during that interview because Murray told him
          that the  purpose of the  interview was  to "protect"  Mulinelli.
          Defense counsel stated that  he wished to have Murray testify  to
          impeach 
                 Lopez' testimony that Murray told Lopez that the interview
          was intended to "protect" Mulinelli.  The trial court refused  to
          allow Murray to testify.
                    Murray's  testimony would  have  gone to  the  question
          whether  Lopez was lying  about what Murray  had said before  the
          interview, 
                    and 
                       therefore 
                                 related to Lopez' credibility.  On appeal,
          Mulinelli 
                   contends that the district court usurped the jury's role
          in  making credibility  determinations  and  thereby  abused  its
          discretion. 
                      
                     Although 
                              the use of contradictory testimony is a valid
          means of impeachment,  it is limited  in several important  ways.
          United 
                States v. Payne, 102 F.3d 289, 294 (7th Cir. 1996).  One of
          these 
               limitations is the collateral issue rule, which bars a party
          from 
              impeaching 
                        a 
                          witness on a collateral matter through the use of
          extrinsic 
                   evidence. 
                             
                             Unit
                                 ed States v. Beauchamp, 986 F.2d 1, 3 (1st
          Cir. 
              1993) 
                    ("[W]hen 
                            a 
                              witness testifies to a collateral matter, the
          examiner 'must  take [the] answer,'  i.e., the  examiner may  not
          disprove it by  extrinsic evidence.").   "A matter is  considered
                                         -9-

          collateral 
                    if 'the matter itself is not relevant in the litigation
          to establish  a fact  of consequence,  i.e., not  relevant for  a
          purpose 
                 other than mere contradiction of the in-court testimony of
          the 
             witness.'"  Id. at 4 (quoting 1 McCormack on Evidence S 45, at
          169).  In other words, "[a] matter is collateral if it could  not
          have been  introduced into evidence  for any  purpose other  than
          contradiction.  . . .   [T]he evidence  must have an  independent
          purpose 
                 and 
                     an independent ground for admission."  Payne, 102 F.3d
          at 294 (citation and internal quotation marks omitted); see  also
          United  States v. Roulette,  75 F.3d 418,  423 (8th Cir.),  cert.
          denied
               , 
                 117 
                    S. 
                       Ct. 
                           147 
                               (1996).  The inquiry into what is collateral
          is 
            squarely 
                     within the trial court's discretion.  United States v.
          Kozinski, 16 F.3d 795, 806 (7th Cir. 1994).
                    In light of the  collateral issue rule, in order to  be
          admissible, Murray's offered testimony must not only contradict a
          statement 
                   of 
                      Lopez', 
                             but 
                                 must also be material to Mulinelli's guilt
          or  innocence.    Mulinelli  fails,  however,  to  indicate   any
          independent 
                     and 
                        material 
                                 ground for admitting Murray's testimony as
          to 
            what 
                 he 
                    told 
                        Lopez 
                              at 
                                 the time of the interview.  See Payne, 102
          F.3d at 295 (noting  that defendant's proffer for the purpose  of
          impeaching 
                    a 
                      witness was collateral, as it did not directly relate
          to substantive  issues  concerning his  guilt or  innocence,  and
          therefore was inadmissible); see also United States v. Zuno-Arce,
          44 F.3d 1420, 1422-23 (9th Cir.) (where accomplices testifying on
          behalf of the government presented contradictory testimony, trial
          court 
               acted 
                     within 
                           its 
                               discretion in determining that "whether they
                                        -10-

          lied,  or  erred in  their  perceptions  or  recollections"  were
          questions  of credibility  for the  jury), cert.  denied, 116  S.
          Ct. 
             383 
                 (1995). 
                         
                         The 
                             district court did not abuse its discretion in
          excluding Murray's testimony, which  was relevant only to  Lopez'
          credibility on a matter immaterial to Mulinelli's guilt.
          III.      Evidentiary rulings
                    A. Admission of the summary chart
                    The government's  first witness  was Fernando  Iglesias
          Iglesias  ("Iglesias"),  an  auditor  for  First  Federal,  whose
          investigation
                       of First Federal's unusual car loan transactions led
          to  Mulinelli's  indictment.    During  direct  examination,  the
          government moved  to  admit a  summary  chart that  Iglesias  had
          prepared during  the  course  of his  investigation,  based  upon
          information 
                     he gleaned from bank loan records.  Mulinelli objected
          to the admission of the summary chart, arguing that the chart was
          not 
             an 
                original. 
                          
                          On 
                             appeal, she changes her position, arguing that
          the summary chart  was not properly qualified under the  business
          record 
                hearsay exception.  See Fed. R. Evid. 803(6).  When a party
          raises 
                on 
                   appeal an argument she failed to present to the district
          court, she  has forfeited  the  argument and  can only  obtain  a
          favorable 
                   ruling upon a showing of plain error.  See United States
          v. 
            Smith
                 , 
                   101 F.3d 202 (1st Cir. 1996) (explaining that failure to
          argue, at time of objection, grounds offered on appeal results in
          plain error review), cert. denied, ___ S. Ct. ___, 1997 WL 106695
          (Mar. 31, 1997).  Mulinelli must show that the error "resulted in
          a miscarriage  of  justice or  seriously affected  the  fairness,
                                        -11-

          integrity  or public  reputation  of the  judicial  proceedings."
          Coastal 
                 Fuels 
                       of 
                         Puerto 
                                Rico, Inc. v. Caribbean Petroleum Corp., 79
          F.3d 182, 189 (1st Cir.) (quotation marks omitted), cert. denied,
          117 S. Ct. 294 (1996).  The plain error standard affords reversal
          "only in  'exceptional cases or  under peculiar circumstances  to
          prevent a  clear  miscarriage of  justice.'"   United  States  v.
          Griffin, 818 F.2d  97, 100 (1st Cir.  1987).  Mulinelli fails  to
          indicate  any error in  the admission of  this summary chart  "so
          shocking that [it] seriously affect[ed] the fundamental  fairness
          and 
             basic 
                   integrity of the proceedings below."  Id.  Moreover, the
          summary 
                 chart 
                      probably 
                               have been admissible as a business record as
          the 
             district 
                      court would likely find Iglesias a "qualified person"
          within 
                the 
                    meaning of Federal Rule of Evidence 803(6).  We find no
          plain error.
                    B.   Admission of copy of a check
                    During  the  testimony  of  Iglesias,  the   government
          introduced into evidence  a microform copy of a check  disbursing
          loan 
              funds 
                    to Mulinelli's daughter.  Mulinelli objected "only [to]
          the 
             issue 
                  of 
                     authenticity," Trial Transcript, Dec. 18, 1995, at 81,
          of the copy of the check.   On appeal, Mulinelli argues that  the
          admission 
                   of 
                      the microform copy was an abuse of discretion because
          the 
             government should have introduced the original and because the
          check was not properly authenticated.
                    Regarding 
                             the 
                                admission 
                                          of the duplicate, rather than the
          original, the  district court acted  well within its  discretion.
          Under Federal Rule of Evidence 1003, "[a] duplicate is admissible
                                        -12-

          to 
            the 
                same 
                     extent as an original unless (1) a genuine question is
          raised  as to  the authenticity  of the  original or  (2) in  the
          circumstances
                       it would be unfair to admit the duplicate in lieu of
          the original."  A duplicate is
                    a counterpart produced by the same impression
                    as the original, or from the same matrix,  or
                    by   means    of    photography,    including
                    enlargements and miniatures, or by mechanical
                    or electronic  re-recording, or  by  chemical
                    reproduction,   or   by   other    equivalent
                    techniques which  accurately  reproduces  the
                    original.
          Fed. R. Evid. 1001(4).  The microform copy introduced here was  a
          "duplicate" 
                     of 
                       the 
                           original check and was admissible subject to the
          limitations of Federal Rule of Evidence 1003.  Although Mulinelli
          objected  below to  the  document's "authenticity"  and  elicited
          testimony that the microform was not the original, she failed  to
          elicit  any testimony  or make  any proffer  suggesting that  the
          original 
                  had 
                      been tampered with or altered in any way and that the
          copy was  not what  it purported  to be.   See  United States  v.
          Balzano,  687 F.2d 6,  8 (1st Cir.  1982) (declining to  question
          authenticity  of duplicate  where  appellant  failed  to  proffer
          testimony, 
                    beyond statement that evidence was not the original, of
          alteration  or  tampering).   The  duplicate  complied  with  the
          requirements 
                      of 
                        Federal 
                                Rule of Evidence 1003 and was admissible to
          the 
             same 
                  extent as the original.  The district court did not abuse
          its discretion in admitting the microform copy.
                    Mulinelli's challenge below as to the "authenticity" of
          the copy does not clearly identify the argument that the copy was
          improperly authenticated.    Nevertheless, giving  Mulinelli  the
                                        -13-

          benefit of the doubt as to  the scope of her objection below,  we
          r                              1
          states: 
                  
                  "The requirement of authentication or identification as a
          condition  precedent to  admissibility is  satisfied by  evidence
          sufficient 
                    to 
                       support 
                              a 
                                finding that the matter in question is what
          its proponent claims."   Such authentication can be provided  by,
          among 
               other 
                     things, testimony of a custodian or percipient witness
             through  "the document's  '[a]ppearance, contents,  substance
           eview 
                the 
                   copy's 
                          authentication.   Federal Rule of Evidence 901(a)
          or                                                              ,
          internal patterns, or other distinctive characteristics, taken in
          conjunction with circumstances.'"  United States v. Holmquist, 36
          F.3d 154, 167 (1st Cir. 1994) (quoting Fed. R. Evid.  901(b)(4)).
          We 
            have 
                 recognized that "[i]f the court discerns enough support in
          the record to warrant a reasonable person in determining that the
          evidence is what it purports to be, then Rule 901(a) is satisfied
          and the weight to be given to the evidence is left to  the jury."
          United  States  v. Paolino,  13  F.3d  20, 23  (1st  Cir.  1994).
          Iglesias' testimony  regarding  the conduct  of the  bank's  loan
          department and  surrounding  the issuance  of this  check,  which
          disbursed 
                   funds for a fraudulent loan to Mulinelli's daughter, and
          the characteristics of the check itself, adequately authenticated
          1  Mulinelli directs our attention to three cases that deal  with
          the  inadmissibility  of  evidence  under  the  business  records
          exception to  the hearsay rule.   See United States v.  Benavente
          Gomez
              , 
                921 
                    F.2d 
                        378 
                            (1st 
                                 Cir. 1990); United States v. Kim, 595 F.2d
          755 (D.C. Cir. 1979); United States v. Davis, 571 F.2d 1354  (5th
          Cir. 1978).  As the inadmissibility rulings in these cases relate
          only to hearsay and  not to authentication of evidence, they  are
          inapposite.
                                        -14-

          the copy of the check, and we find no abuse of discretion  in the
          district court's admission of the copy.
                    C.   Leading questions
                    During the government's direct examination of Exposito,
          Mulinelli's counsel repeatedly objected to the leading nature  of
          the government's questions.  Mulinelli restates the objection  on
          appeal, claiming that Exposito was not adverse or hostile to  the
          prosecution  so as  to warrant  leading questions,  and that  the
          court's overruling this objection limited her ability to properly
          cross-examine  Exposito  because  the  prosecution,  rather  than
          Exposito, was testifying.
                    Federal Rule of Evidence 611(c) provides:
                    Leading questions should  not be used on  the
                    direct examination of a witness except as may
                    be   necessary  to   develop   the   witness'
                    testimony.    Ordinarily  leading   questions
                    should  be  permitted  on  cross-examination.
                    When  a party  calls  a hostile  witness,  an
                    adverse 
                           party, or a witness identified with an
                    adverse 
                           party, interrogation may be by leading
                    questions.
          "[T]he use of leading questions '. . . must be left to  the sound
          discretion of  the trial  judge  who sees  the witness  and  can,
          therefore, determine in the interest of truth and justice whether
          the circumstances justify leading questions to be propounded to a
          witness 
                 by 
                    the 
                       party 
                             producing.'"  United States v. Brown, 603 F.2d
          1022, 1025 (1st Cir. 1979).  Our review of the transcript reveals
          a witness  who was, at  times, unresponsive or  showed a lack  of
          understanding.   The prosecutor's  use of  leading questions  was
          limited to questions intended to  lay a foundation for a line  of
                                        -15-

          questioning 
                     or 
                        to 
                          assist 
                                 in developing coherent testimony.  We find
          that 
              such 
                   questions were not improper and the district court acted
          within its discretion when it allowed this manner of questioning.
          See id. at 1025-26.
                    Mulinelli  also  suggests   that  the  district   court
          improperly questioned  Exposito during  his testimony.   The  few
          occasions  that Mulinelli points  to do not  suggest an abuse  of
          discretion. 
                      
                      See United States v. Olmstead, 832 F.2d 642, 648 (1st
          Cir.  1987).  The questions posed by  the judge "served to . .  .
          clarify lines of inquiry  or develop the witness's answer.   Such
          conduct is well within the court's discretion."  Id.
                    D.   Limiting cross-examination as irrelevant
                    In  her  attack on  the  prosecutor's  use  of  leading
          questions, Mulinelli juxtaposes the leeway granted the prosecutor
          with 
              the 
                  district court's curtailment of a line of questioning she
          sought  to pursue.   Mulinelli argues that  her defense was  that
          Exposito was brought to the bank by one of the bank officers, who
          vouched for Exposito as  creditworthy, and that, thus,  Mulinelli
          relied on the bank officer's support of Exposito.  Because of her
          reliance,  Mulinelli  argues,  she was  duped  by  the  two  into
          unknowingly 
                     providing 
                              fraudulent bank loans to Exposito.  Mulinelli
          argues 
                on 
                   appeal that she presented this theory to the jury in her
          opening statement, but  was unable, due  to the district  court's
          limitation  on her  cross-examination  of Exposito,  to  properly
          present 
                 the 
                     theory during the course of the trial.  The references
                                        -16-

          to this  defense during her  opening statement  consisted of  the
          following, separated by several pages of transcript.
                    The evidence will  show that Lazaro  Exposito
                    was brought to the bank by one of the highest
                    officers of the bank.  He did not come in  by
                    the regular channels.  And the documents that
                    were presented  to  the car  department  were
                    brought by this highest officer of the  bank.
                    The 
                       evidence 
                                will show that he was recommended
                    by this highest officer  of the bank, and  he
                    started to buy repossessed automobiles, which
                    was a department, an office under [Mulinelli]
                    in 
                      the 
                          department of car loan that was managed
                    or 
                      directed 
                               by a man named Otero.   Of course,
                    all   under  the   general   supervision   of
                    Mulinelli.
                                        * * *
                    And finally, I think that the evidence,  when
                    you hear  it  in its  totality, you  will  be
                    convinced that there  is a conspiracy of  two
                    crooks against Maria Mulinelli.
          Trial Transcript, Dec. 18, 1995, at 26-27, 30.
                    During Mulinelli's  cross-examination of Exposito,  the
          following interchange took place:
                      Q.  Now, sir, you were not brought to First
                    Federal in the  usual way other dealers  were
                    brought in.
                      MS. DOMINGUEZ:2  Objection as to relevance.
                      MR. ABREU:3  It's an introductory question.
                      THE COURT:  Well --
                      MR. ABREU:  May I make a proffer?
                      THE 
                         COURT: 
                                 
                                 Why don't you ask him how did he
                    come to the bank to begin with.
          2  The Assistant United States Attorney.
          3  Mulinelli's counsel.
                                        -17-

                      Q.   (Mr. Abreu) Sir,  how did  you get  to
                    First Federal Savings to the loan  department
                    as a dealer?
                      A.  It was through Mr. Alcocer.
                      Q.   Mr.  Alcocer was  one of  the  highest
                    officers of the bank at that time, wasn't he?
                      MS. DOMINGUEZ:  Objection as to relevance.
                      THE  COURT:    It  think  it's  irrelevant.
                    Sustained.
                      MR. ABREU:   May I make  a proffer as to  a
                    line?
                      THE  COURT:    Well,  perhaps  you   should
                    approach the bench and make a proffer.
                                 (Bench conference.)
                      MR. ABREU:  Your Honor, the proffer is  the
                    following:   The  regular practice  in  First
                    Federal was sending  young people to  recruit
                    dealers. 
                             
                             In 
                                this particular case he came from
                    one 
                       of 
                          the 
                              highest officer[s] of the bank, who
                    collected   his    information   about    the
                    corporation to  the  department.   He  highly
                    recommended  [Exposito],   said  he  had   an
                    excellent credit, and  that's how  he got  --
                    that's how they trusted him.
                      THE COURT:   It is total[ly] irrelevant  to
                    the  issues of  this case.   This  is a  very
                    discreet, 
                             unique, well-defined conduct that is
                    the object of these charges.  Has nothing  to
                    do with Mr. Alcocer.
          Trial Transcript, Dec. 19, 1995, at 177-78.
                    As we noted above, a defendant has a right to effective
          cross-examination.  Delaware  v. Van Arsdall,  475 U.S. 673,  679
          (1986). 
                  
                  Once 
                      that 
                           constitutional threshold has been met, the trial
          court 
               "retain[s] wide latitude to impose reasonable limits on such
          cross-examination based on  concerns about,  among other  things,
          harassment,  prejudice, confusion  of the  issues, the  witness's
                                        -18-

          safety, or  interrogation that is  repetitive or only  marginally
          relevant."  Id.  The  question before us is whether the  district
          court  judge "exceeded  his powers  to limit  cross-examination."
          United States v. Malik, 928 F.2d 17, 19 (1st Cir. 1991).  In this
          case, we find that the district court exceeded the boundaries  of
          its power  and deprived Mulinelli of  her ability to present  her
          theory of defense to the jury.
                    The information presented  by Mulinelli in her  opening
          statement and  her proffer adequately  indicated to the  district
          court 
               the 
                   theory 
                         of 
                            defense she wanted to pursue.  She mentioned in
          her  opening statement  that "[t]he  evidence will  show that  he
          (Exposito) was recommended by this highest officer of the  bank,"
          which 
               suggests that the person with whom Exposito might have acted
          to defraud the  bank was not Mulinelli,  but Alcocer, and at  the
          least that  Mulinelli  was influenced  by the  recommendation  of
          Alcocer.  Such a  theory of defense might suggest that,  although
          Mulinelli  may  have  been  negligent  in  relying  on  Alcocer's
          recommendation and not  questioning Exposito's loan  applications
          more  closely than she  did, she had  no knowledge of  Exposito's
          fraudulent 
                    transactions. 
                                  The information presented to the district
          court adequately  apprised  the court  of  the relevance  of  the
          channels 
                  through 
                         which 
                               Exposito's loans were brought to Mulinelli's
          attention, and the court, by foreclosing the introduction of  any
          testimony  to support  Mulinelli's  theory of  defense,  violated
          Mulinelli's 
                     Sixth 
                          Amendment right to confrontation.  We next review
          this error for harmlessness.
                                        -19-

                    On direct appeal, we apply the harmless error  standard
          set 
             forth 
                   in 
                      Chapman v. California, which requires that we reverse
          the  conviction  unless  the   government  can  prove  that   the
          constitutional  error  complained  of  was  "harmless  beyond   a
          reasonable  doubt."  Chapman,  386 U.S. 18,  24 (1967); see  also
          United States  v. Maguire,  918  F.2d 254,  266 (1st  Cir.  1990)
          (ordering  a   new  trial   where  government   failed  to   show
          constitutional errors were  harmless beyond a reasonable  doubt).
          Under this standard,  we may not  declare a constitutional  error
          harmless if there  is a "reasonable  possibility" that the  error
          influenced 
                    the 
                        verdict. 
                                 
                                 See United States v. Levy-Cordero, 67 F.3d
          1002, 1015 n.15  (1st Cir. 1995)  (holding that district  court's
          failure 
                 to 
                    hold 
                        an 
                           evidentiary hearing into validity of defendant's
          proposed defense  "was not 'harmless  beyond a reasonable  doubt'
          because there is a 'reasonable possibility' that exclusion of the
          proffered alibi evidence influenced the jury's verdict").
                    On  the particular  counts that  involved the  Exposito
          transactions, the  government's  proof of  Mulinelli's  knowledge
          relied solely on  the testimony of  Exposito.  While  documentary
          evidence was presented to support Exposito's acquisition of these
          loans, 
                that 
                     evidence did not necessarily corroborate his testimony
          that Mulinelli encouraged him to apply for the loans or that  she
          set the terms of the loans.  The alternative version of events --
          that Exposito was brought to the bank by the officer and that the
          officer 
                 vouched for him -- would not necessarily have contradicted
          Exposito's 
                    testimony on direct examination but would have provided
                                        -20-

          Mulinelli 
                   with 
                       the 
                           opportunity to develop her own theory of defense
          against these two counts.
                    The 
                       Sixth 
                             Amendment, and thus the constitutional minimum
          that must be allowed a criminal defendant before a trial  court's
          discretion 
                    to 
                      limit 
                            cross-examination adheres, includes the ability
          to develop and present a defense.  See United States v. Muhammad,
          928 F.2d  1461, 1467  (7th Cir.  1991) (holding  that only  after
          satisfying the constitutional minimum of allowing a defendant  to
          present sufficient evidence for the jury to assess her theory  of
          defense and witness bias does the district court's discretion  to
          limit cross-examination inure); see also Washington v. Texas, 388
          U.S. 14, 18 (1967) ("'A person's right to reasonable notice of  a
          charge against him, and an opportunity to be heard in his defense
          -- a  right to his  day in court  -- are basic  in our system  of
          jurisprudence; and these rights include, as a minimum, a right to
          examine the witnesses against him, to offer testimony, and to  be
          represented 
                     by counsel.'" (quoting In re Oliver, 333 U.S. 257, 273
          (1948)).  The district court's ruling worked a severe restriction
          on 
            Mulinelli's 
                       ability 
                               to elicit evidence relating to her theory of
          defense. 
                   
                   Had the jury been presented with the theory, it may well
          have accepted it  and believed that Exposito's testimony was  not
          credible.   As Exposito's  testimony was  the prosecution's  only
          evidence regarding Mulinelli's knowledge, the error of  excluding
          her theory of defense could not have been harmless, and  warrants
          reversal with regard to the loan transactions with Exposito.   We
                                        -21-

          therefore 
                   vacate Mulinelli's conviction and sentences4
                                     CONCLUSION
                                                  affirm in part and vacate
          and remand in part.
          4
                                                                on Counts 5
          and 6 and remand to the district court for further proceedings in
          conformity with this decision.
                    For the foregoing reasons, we 
             We note, however, that this outcome will not ultimately change
          Mulinelli's sentence.   Her original base offense level was  six,
          increased 
                   eight levels under U.S.S.G. 2F1.1(b)(1) because the loss
          was 
             determined 
                        to 
                          be 
                             $349,000.  The level was further increased two
          levels in  accordance  with U.S.S.G.  S 2F1.1(b)(2)  because  the
          offense involved  more than minimal  planning and  two levels  in
          accordance with  U.S.S.G.  S  3B1.3 because  Mulinelli  abused  a
          position 
                  of 
                     trust.  Her sentence, based on these calculations, was
          27 months  for all six  counts, to be  served concurrently.   The
          calculations 
                      remain 
                            the 
                                same, even after the loss from Counts 5 and
          6 ($130,000) is excluded, because the district court enhanced for
          an amount of loss over $200,000 under U.S.S.G. S 2F1.1(b)(1), and
          the total loss for Counts 1 through 4 remains over $200,000. 
                                        -22-


